Case 3:16-md-02738-MAS-RLS Document 2558 Filed 11/27/17 Page 1 of 2 PageID: 8935




  BEASLEY ALLEN CROW METHVIN PORTIS & MILES, P.C.
  218 Commerce Street
  Montgomery, Alabama 36104
  800-898-2034
  Attorneys for Plaintiff Dawn Lowe

                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



   IN RE: JOHNSON & JOHNSON
   TALCUM POWDER PRODUCTS                           Civil No. 3:16-md-2738-FLW-LHG
   MARKETING, SALES PRACTICES
   AND PRODUCTS LIABILITY
   LITIGATION

   This document relates to:
   Dawn Lowe v. Johnson & Johnson, et al
   Case No. 3:17-cv-09121



                                    NOTICE OF FILING

         Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

  Complaints) that the Short Form Complaint and Jury Demand was filed on October 24, 2017 on

  behalf of Plaintiff Dawn Lowe.


                                                   /s/ Lauren K. Razick
                                                   Lauren K. Razick
                                                   BEASLEY ALLEN CROW METHVIN
                                                   PORTIS & MILES, P.C.
                                                   218 Commerce Street
                                                   Montgomery, Alabama 36104
                                                   (800) 898-2034 Telephone
                                                   (334) 954-7555 Facsimile
                                                   Lauren.Razick@BeasleyAllen.com

                                                   Attorneys for Plaintiff Dawn Lowe
  Dated: November 27, 2017
Case 3:16-md-02738-MAS-RLS Document 2558 Filed 11/27/17 Page 2 of 2 PageID: 8936




                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 27, 2017, a copy of the foregoing NOTICE OF FILING
  was filed via the Court’s CM/ECF electronic filing system. Notice of this filing will be sent by
  operation of the Court’s electronic filing system to all parties indicated on the electronic filing
  receipt. Parties may access this filing through the Court’s system.



                                                       /s/ Lauren K. Razick
                                                       Lauren K. Razick

                                                       BEASLEY ALLEN CROW METHVIN
                                                       PORTIS & MILES, P.C.
